Case 22-19361-MBK            Doc 2260       Filed 04/22/24 Entered 04/22/24 16:32:59                     Desc Main
                                          Document      Page 1 of 6



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

     PORZIO, BROMBERG & NEWMAN, P.C.
     100 Southgate Parkway
     P.O. Box 1997
     Morristown, New Jersey 07962
     (973) 538-4006
     (973) 538-5146 Facsimile
     Warren J. Martin, Esq. (wjmartin@pbnlaw.com)
     Robert M. Schechter, Esq. (rmschechter@pbnlaw.com)

     Attorneys for Zachary Prince and Flori Marquez

     SHEARMAN & STERLING LLP
     R. Thaddeus Behrens, Esq. (pro hac vice)
     Daniel H. Gold, Esq. (pro hac vice)
     2601 Olive Street, 17th Floor
     Dallas, TX 75201
     (214) 271-5812
     thad.behrens@shearman.com
     dan.gold@shearman.com

     Attorneys for Zachary Prince

                                                                       Chapter 11
     In re:
                                                                       Case No. 22-19361 (MBK)
     BLOCKFI INC., et al.,                                             (Jointly Administered)
                             Debtors.1                                 Hearing Date and Time:
                                                                       April 25, 2024 at 11:30 a.m. (EST)

         REPLY OF ZACHARY PRINCE AND FLORI MARQUEZ TO THE PLAN
     ADMINISTRATOR’S LIMITED OBJECTION TO AND RESERVATION OF RIGHTS
      CONCERNING MOTION FOR AN ORDER TO ALLOW INSURED PERSONS TO
       ACCESS EXCESS DIRECTORS AND OFFICERS INSURANCE POLICY FOR
                             DEFENSE COSTS


 1
   The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC
 (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC (2422);
 BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service address is 201
 Montgomery Street, Suite 263, Jersey City, NJ 07302.


 7687919
Case 22-19361-MBK              Doc 2260       Filed 04/22/24 Entered 04/22/24 16:32:59                      Desc Main
                                            Document      Page 2 of 6




 TO:        THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN
            UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEW
            JERSEY

            Zachary Prince and Flori Marquez (“Movants”) hereby file this reply (the “Reply”) in

 support of the Motion of Zachary Prince and Flori Marquez for an Order to Allow Insured Persons

 to Access Excess Directors and Officers Insurance Policy for Defense Costs (the “Motion”)

 [Docket No. 2219], and to the limited objection to and reservation of rights of the Plan

 Administrator to the Motion (the “Limited Objection”) [Docket No. 2243]. In support of the

 Reply, Movants respectfully represent as follows:2

                                                        REPLY

            1.       The discrete relief sought in the Motion—lifting the stay (to the extent applicable)

 to allow Movants and other insureds to access the Excess Policy for Defense Costs and Mediation

 Expenses—is effectively unopposed. The Plan Administrator “does not generally oppose lifting

 the stay as to the Excess Policy,” “does not oppose lifting the automatic stay,” and “do[es] not

 oppose Movants[’] request to access the Excess Policy.” Limited Objection ¶¶ 1, 15-16.3




 2
     Capitalized terms used but not defined in this Reply have the meaning given to them in the Motion.
 3
   The Plan Administrator nonetheless spills considerable ink arguing that the Wind Down Debtors, despite assuming
 the Excess Policy, are not bound by BlockFi’s agreement not to oppose a motion such as this one. Even if the stay
 were applicable (which it is not), the Plan Administrator is wrong. By assuming the Excess Policy, the Wind Down
 Debtors are bound by its terms. See In re Fleming Cos., 499 F.3d 300, 308 (3d Cir. 2007) (debtor is required to “assume
 a contract subject to the benefits and burdens thereunder. The debtor may not blow hot and cold. If he accepts the
 contract he accepts it cum onere. If he receives the benefits he must adopt the burdens. He cannot accept one and
 reject the other. The cum onere rule prevents the bankruptcy estate from avoiding obligations that are an integral part
 of an assumed agreement.”) (cleaned up); In re G-I Holdings, Inc., 580 B.R. 388, 420 (Bankr. D.N.J. Jan. 26, 2018)
 (“Once an executory contract is properly assumed, the debtor is bound to assume all of its terms cum onere—with all
 of its benefits and burdens. A debtor may not ‘cherry-pick’ the provisions of an assumed contract with which it will
 comply.” (cleaned up)). While the Plan Administrator cites general case law on pre-petition waivers of the automatic
 stay to support its argument that the Wind Down Debtors are not bound by BlockFi's agreement, none of those cases
 address a contract that was expressly assumed with the assumption then enshrined in a confirmed bankruptcy plan. In
 any event, there is no need for the Court to rule on this issue given that the Plan Administrator does not oppose the
 discrete relief sought in the Motion.

                                                            2
 7687919
Case 22-19361-MBK            Doc 2260        Filed 04/22/24 Entered 04/22/24 16:32:59                       Desc Main
                                           Document      Page 3 of 6



           2.      Rather, because of the Insurance Lawsuit the Plan Administrator seeks to add

 extensive language to Movants’ straightforward Proposed Order, claiming it is necessary to avoid

 “a backdoor finding as to the validity of the Excess Policy.” Limited Objection ¶ 1.

           3.      Nothing in Movants’ Proposed Order constitutes such a backdoor finding. The

 Motion does not ask the Court to issue substantive rulings about the Insurance Lawsuit, and no

 court would mistake Movants’ Proposed Order for doing so. Moreover, any concern the Plan

 Administrator may have had about waiver or estoppel through non-opposition is fully addressed

 by the filing of the Limited Objection.

           4.      The Plan Administrator’s proposed language is problematic because it assumes or

 suggests that the Wind Down Debtors have rights that they do not have. For example, the Plan

 Administrator’s proposed language refers to “rights of BlockFi under the Excess Policy and with

 respect to the Excess Policy,” a purported “right” by BlockFi “to assert otherwise” with respect to

 insureds being entitled to coverage, and suggests BlockFi has some right to “not consent to the

 payment of any amounts under the Excess Policy.” Limited Objection, Ex. A ¶¶ 4, 7.4

           5.      Nothing in the Excess Policy gives BlockFi any such rights. See Motion Ex. 1. On

 the contrary, there is clear language in the Plan and Confirmation Order, which the Plan

 Administrator ignores, that coverage under the Excess Policy shall not be terminated or reduced

 and that Movants and other insureds “shall be entitled to the full benefits” of the Excess Policy.

 Motion ¶¶ 30-32, 38). Similarly, the Plan Administrator does not dispute that the proceeds of the

 Excess Policy are not property of the Debtors’ estates. Compare Motion ¶¶ 39-41 (citing case law


 4
   The Plan Administrator also proposes language that “[n]othing in this Order authorizes any assertion that any party
 is entitled to coverage under the Excess Policy.” Limited Objection, Ex. A ¶ 4. On its face, that language could be
 read as contradicting the entire point of the Motion and Proposed Order, which is to allow the insureds to seek and
 assert a right to coverage under the Excess Policy. Read in the context of the Limited Objection, Movants understand
 the Plan Administrator to intend to say that the Court is not ruling on any assertion of coverage (which the Motion did
 not ask the Court to do).

                                                           3
 7687919
Case 22-19361-MBK         Doc 2260       Filed 04/22/24 Entered 04/22/24 16:32:59            Desc Main
                                       Document      Page 4 of 6



 establishing that while insurance policies are property of the estate, the proceeds of a Side A policy

 like the Excess Policy are not) with Limited Objection ¶ 8 (arguing only that the policy is part of

 the property of the estate).

           6.   There is accordingly no basis for the Plan Administrator’s proposed language and

 the Court should enter the straightforward Proposed Order submitted as Exhibit A to the Motion

 simply authorizing Movants and other insureds to seek coverage for Defense Costs and Mediation

 Expenses pursuant to the terms and conditions of the Excess Policy.



                                [remainder of page intentionally left blank]




                                                     4
 7687919
Case 22-19361-MBK        Doc 2260     Filed 04/22/24 Entered 04/22/24 16:32:59           Desc Main
                                    Document      Page 5 of 6



                                         CONCLUSION

           WHEREFORE, Movants respectfully request that this Court enter the Proposed Order

 attached to the Motion as Exhibit A authorizing and permitting payments for Defense Costs and

 Mediation Expenses in accordance with the terms and conditions of the Excess Policy and grant

 any such other and further relief as the Court may deem just and appropriate.

 Dated: April 22, 2024
                                              /s/ Warren J. Martin Jr.
                                              PORZIO, BROMBERG & NEWMAN, P.C.
                                              Warren J. Martin Jr., Esq.
                                              Robert M. Schechter, Esq.
                                              100 Southgate Parkway
                                              P.O. Box 1997
                                              Morristown, New Jersey 07962
                                              (973) 538-4006
                                              (973) 538-5146 Facsimile
                                              wjmartin@pbnlaw.com
                                              rmschechter@pbhlaw.com

                                              - and –

                                              SHEARMAN & STERLING LLP
                                              R. Thaddeus Behrens, Esq. (pro hac vice)
                                              Daniel H. Gold, Esq. (pro hac vice)
                                              2601 Olive Street, 17th Floor
                                              Dallas, TX 75201
                                              (214) 271-5812
                                              thad.behrens@shearman.com
                                              dan.gold@shearman.com




                                                 5
 7687919
Case 22-19361-MBK          Doc 2260     Filed 04/22/24 Entered 04/22/24 16:32:59             Desc Main
                                      Document      Page 6 of 6



                                   CERTIFICATE OF SERVICE

           I hereby certify that on April 22, 2024, a true and correct copy of the above document has

 been served on all parties that are registered to receive electronic transmission through this Court’s

 CM/ECF filing system in these cases.

                                                       /s/ Warren J. Martin Jr.
                                                           Warren J. Martin Jr.




                                                   6
 7687919
